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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,             )
                                      )
                 Plaintiff,           )
                                      )
           v.                         )                4:06CR3062
                                      )
ROBERT BERLIE,                        )
                                      )
                 Defendants.          )                   ORDER
                                      )



     The defendant has filed a motion to reopen detention
hearing, filing 52, and has attached a copy of the defendant’s
Substance Abuse Evaluation.         Pursuant to NECrimR 49.3(d), “[i]n
criminal cases, medical, mental health, and drug rehabilitation
records and evaluations, even if offered in support of an
unsealed motion, shall be filed under seal.”             While counsel for
the defendant is ultimately responsible for assuring that such
records are filed under seal, the court shall in this case order
the clerk to remove the Substance Abuse Evaluation from the
public docket and re-file it under seal.

     IT IS ORDERED:

     1.    The clerk shall remove the Substance Abuse Evaluation
           attached to filing 52 from the public docket and re-
           file it under seal.

     2.    Counsel for the defendant is ordered to review the
           filing requirements of NECrimR 49.3 of this court’s
           local rules.

     DATED this 26th day of June, 2006.

                                     BY THE COURT:


                                     s/   David L. Piester
                                     David L. Piester
                                     United States Magistrate Judge
